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Case 2:18- meat Fee Druck s RAeSt Tor CUMGEHRAIN? by REMUS Page 1 of 4

Veith Terri (FCA)

From: Hoxsie Neal (FCA)
Sent: Tuesday, July 01, 2014 2:14 PM
~ To: Palmer Richard (FCA)
Ce: Bradshaw Darren (FCA); Hawkins Sherri (FCA); Brummitt Jr Joseph (FCA)
Subject: Approval Request - UAW Chrysler Training Center - May 2014 - $2.9M
Attachments: UAW - Chrysler National Training Center - May 2014 $2,900,000.pdf
Richard,

Attached is the UAW National Training Center funding request for the period of May in the amount of $2,900,000. In
reviewing the expenses it represents operating expenses, with the exception of a few small sponsorship/donations.

Sponsorships and Donations

Abundant Care Tratning Services — Community Support Initiative $40,000

Aston Fund ~ Community Service Initiative $5,000

Brighttnoor Christian Church — Made in Detroit Auto & Motorcycle Show and BBQ $3,500

Keeping the Dream Alive ~Golf Outing benefitting the United Nations Millennium Development Goals and Global Peace
& Justice $15,000

Labor Heritage Foundation ~ Labor & Civil Rights $5,000

Your approval is required for the draw of $2,900,000.

__Please let mé know if you require more information.

~ Neal E. Hoxsie

Chrysler. Group LLC

Sr Mgr. ~ Sales and Marketing Finance & Financial Planning and Analysis
Office 248 512 3370

Call 248 425 8618

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Required

Reference or Invoice Date §/28/2014

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Approved

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Signature:

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UAW-Chryster National Training Center
First Independence Bank ~ 44 Michigan Avenue, Detroit Ml 48226

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